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                                     28 February 2025

The Honorable Patrick J. Schiltz
Chief Judge
U.S. District Court for the District of Minnesota
Chambers Suite 1500
Diana E. Murphy United States Courthouse
300 South Fourth Street
Minneapolis, Minnesota 55415

       Re:     United States of America vs. Jerry Hal Saliterman
               Docket No. Criminal No. 24-72

Dear Judge Schiltz:

        In its Order of 29 January 2025 (Docket 43) the Court required that “Counsel for
the defendant is directed to file a status update as to the defendant’s physical condition on
February 28, 2025.” Order at 1.

       To comply with the Court’s directive, defense counsel has reviewed the 18
February 2025 M-Health Fairview Hospital twenty-page Summary discharging
Defendant that day to Episcopal Homes Gardens Hospice Facility, 1860 University
Avenue, St. Paul, after being hospitalized continuously from 4 January 2025. (Copy
provided to AUSA Greenley.) The discharge report states, “Patient’s overall prognosis is
poor. Patient has been seen by Palliative Care. Patient is DNR/DNI.” Discharge
Summary at 2. Counsel also spoke with staff of M-Health Fairview during Defendant’s
six-week hospitalization and after his discharge. Counsel also met with attending staff at
the hospice facility and received the attached letter from Dr. Benjamin Rosenstein,
Defendant’s attending physician at the hospice facility, with his opinion on 26 February
2025 as to Defendant’s condition and ability to travel to and appear in court.

       Defense counsel’s opinions, lay as they are, follow.

       Defendant is competent. He is oriented as to time, place, and circumstance, the
roles of the Court, prosecution counsel, defense counsel, the status of his matter, and
choices going forward. He has executed medical releases of information forms for both
M-Health Fairview hospital and the Episcopal Homes hospice facility.

        The logistics of getting him to court are staggering to counsel. He would need
assistance dressing, into a wheel-chair, some form of transportation, assistance upon
arrival at the courthouse, and support through courthouse security. Counsel certainly
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cannot provide these services. Whether U.S. Pretrial or the Marshal’s Service can is
unknown.

       He is willing to participate in a remote virtual hearing, although it would have to
be from his bedside as he is oxygen dependent due to his lung disease. It is doubtful that
his hospice room could be rigged to comply with the Court’s Order on virtual
proceedings. United Staes District Court for the District of Minnesota Virtual Trial
Handbook for Attorneys Rev. 2/5/2021 at 3. His movement is restricted to his bed and
bathroom. His very soft-spoken speech is slow and halting, as he takes a breath or two
before answering each question. Before his discharge, staff at M-Health Fairview
Hospital described his condition in the very most serious terms.

        If the Court were to request an independent medical evaluation of Defendant, he
would be willing to participate. Defense counsel and prosecution counsel are willing to
participate in a lawyers’ status conference with the Court, if that would be of assistance.

                                     CONCLUSION

         Defendant’s medical condition appears such as would preclude a court appearance
at this time.
                                                    Very truly yours,

                                                     JOHN C. BRINK, LAWYER

                                                     /s/ John C. Brink
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                                                     ATTORNEY FOR DEFENDANT

JCB:jb
Enclosure

cc:     Matthew D. Greenley
        Assistant United States Attorney
        (via email only w/wnc)
